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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

In re                                              )
                                                   )
11380 Smith Road, LLC                              )   Case No. 19-10286 (TBM)
EIN: XX-XXXXXXX                                    )
                                                   )
                                                   )   Chapter 7
   Debtor.                                         )


                NOTICE OF APPEARANCE AND REQUEST FOR NOTICE

Pursuant to Rule 9010(b) of the Federal Rules of Bankruptcy Procedure, the undersigned hereby
gives notice of his appearance on behalf of Debtor 11380 Smith Road, LLC and further requests
that all notices, pleadings and other documents filed and/or served in this case, including all such
notices described in Rule 2002 of the Bankruptcy Rules or given pursuant to the Local
Bankruptcy Rule 9013-1, be served upon the following:

                                      Aaron A. Garber, Esq.
                                     Buechler & Garber, LLC
                                   999 18th Street, Suite 1230-S
                                        Denver, CO 80202
                              (720)- 381-0045 / Fax: (720) 381-0382
                                   aaron@bandglawoffice.com

         Please take further notice that the foregoing request includes the notices and papers referred
to in Rule 2002 of the Federal Rules of Bankruptcy Procedure and also includes, without limitation,
notices of any orders, pleadings, motions, applications, complaints, demands, hearings, requests
or petitions, answering or reply papers, memoranda and briefs in support of the foregoing and any
other document brought before this Court with respect to these proceedings, whether formal or
informal, whether written or oral, and whether transmitted or conveyed by mail, delivery,
telephone, telegraph, telex, or otherwise.

DATED January 18, 2019                                 Respectfully submitted,
                                                       BUECHLER & GARBER, LLC

                                                       /s/ Aaron A. Garber
                                                       ___________________________
                                                       Aaron A. Garber, #36099
                                                       999 18th Street, Suite 1230-S
                                                       Denver, Colorado 80202
                                                       720-381-0045 / 720-381-0382 FAX
                                                       aaron@bandglawoffice.com
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                               CERTIFICATE OF SERVICE

        The undersigned certifies that on January 18, 2019 I served by ECF a copy of the NOTICE
OF APPEARANCE AND REQUEST FOR NOTICE, on all parties against whom relief is
sought and those otherwise entitled to service pursuant to FED.R.BANKR.P. and these L.B.R. at
the following addresses:

  Duncan E. Barber                               US Trustee
  7979 E. Tufts Avenue                           Byron G. Rogers Federal Building
  Ste. 1600                                      1961 Stout St. Ste. 12-200
  Denver, CO 80237-3358                          Denver, CO 80294-6004


                                           By: /s/ Nichole Garber
                                               For Buechler & Garber, LLC
